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         FACEBOOK EXHIBIT AI

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                     Exhibit 61

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           11                                    UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF CALIFORNIA
           12                                       SAN FRANCISCO DIVISION
           13

           14      IN RE: FACEBOOK, INC. CONSUMER                       MDL NO. 2843
                   PRIVACY USER PROFILE LITIGATION                      CASE NO. 3:18-MD-02843-VC-JSC
           15
                                                                        FACEBOOK’S OPPOSITION TO
           16      This document relates to:                            PLAINTIFFS’ MOTION TO COMPEL
                                                                        PRODUCTION OF NAMED
           17      ALL ACTIONS                                          PLAINTIFFS’ CONTENT AND
                                                                        INFORMATION
           18
                                                                        Judge: Hon. Vince Chhabria
           19                                                           Hon. Jacqueline Scott Corley
                                                                        Special Master Daniel Garrie
           20                                                           Courtroom: 4, 17th Floor
           21                                                           JAMS Ref. No.: 1200058674
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               1   request invasive discovery to prove it. Second, Plaintiffs are not entitled to “discovery on discovery”

               2   because they do not believe Facebook’s productions are complete. Judge Chhabria, Judge Corley, and

               3   the Special Master have previously rejected Plaintiffs’ efforts to audit Facebook’s discovery process,

               4   and the Special Master should do so again here. Third, Plaintiffs are judicially estopped from

               5   demanding user data that was not shared with third parties after arguing to Judge Corley that this data

               6   is not relevant. Plaintiffs secured relief based on this concession to Judge Corley, and must be bound

               7   by it before the Special Master. Fourth, the list of demands in Plaintiffs’ motion—which seeks

               8   information about Facebook’s “data sources” that Plaintiffs say they will use “to develop an efficient

               9   discovery plan”—is not properly before the Special Master. This is not the topic on which the

           10      mediators declared impasse, Judge Corley has repeatedly rejected this request, and it largely concerns

           11      materials that Facebook provided in an effort to advance the parties’ negotiations and that Plaintiffs

           12      apparently have not bothered to review.

           13               Moving discovery disputes from Judge Corley to the Special Master was not meant to be an

           14      opportunity to ditch past concessions or to put a new face on old arguments. The Special Master should

           15      see this motion for what it is: an opportunistic, wasteful, and abusive attempt to erase the proceedings

           16      before Judge Corley, gain access to information Plaintiffs have conceded is irrelevant, and hunt for

           17      anything to stall this case before it finally reaches the merits. The motion should be denied.

           18       II.     BACKGROUND

           19                  A. Plaintiffs initially demanded all data related to Named Plaintiffs.

           20               In November 2019, Plaintiffs served RFP 9, which requests “[a]ll Documents relating to each

           21      of the Named Plaintiffs.” Ex. G at 12; see also id. at 12–13 (RFPs 10–13); Ex. K at 9 (Interrogatories

           22      16-17). At first blush that request may seem reasonable. But taken literally, it would require collection,

           23      review, and analysis of millions of documents and tables to determine whether any information within

           24      them—including information derived from aggregated and anonymized data—might relate back to a

           25      particular user. In response to this and similar requests, Facebook agreed to produce the content and

           26      information that Facebook associates with each Named Plaintiff’s account. This information is

           27      contained in the “Download Your Information” (“DYI”) file that Facebook makes available to users.

           28               Facebook’s DYI tool reflects, in human-readable and producible form, the most complete
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               1   compilation of data Facebook maintains relating to any user. Ex. C ¶ 5. Beginning in February 2020,

               2   Facebook produced the information contained in the DYI file for each Named Plaintiff, plus additional

               3   information (such as a spreadsheet tracking how Plaintiffs adjusted their Facebook privacy settings).

               4   In total, Facebook produced approximately one million pages of user data relating to Named Plaintiffs.

               5          Plaintiffs belittle the DYI file, claiming it is merely a record of what users post to Facebook.

               6   That is false. Most of the DYI files Facebook produced are tens of thousands of pages each; they

               7   average 32,493 pages each and range from 226 pages to a whopping 272,110 pages (depending on how

               8   active a particular user is and what data they may have deleted).

               9          Exhibit A is an average-size DYI file produced in this case, which—due to its size—Facebook

           10      provides via share file. Exhibit B is a list of categories of data contained in each user’s DYI file (unless

           11      data in a given category does not exist or the user deleted it). See also Ex. C ¶ 6. Categories of

           12      information in users’ DYI file include biographical information, ads viewed, friend lists, games played,

           13      location, logins and logouts, messages, page visits, photos, profile visits, religious and political views,

           14      status updates, and much more. Ex. B. All told, the DYI files contain more than 100 categories of

           15      information that go well beyond a user’s “platform activity.” Facebook produced all of this despite

           16      repeatedly noting that much of it is not shared or relevant to any issue in this privacy litigation.

           17             After Facebook completed these productions, Plaintiffs insisted that Facebook also locate and

           18      produce any other data that might, in any way, relate to any Named Plaintiff, and any materials derived

           19      from that data. They focused on a data warehouse called Hive and demanded that Facebook produce

           20      any information in Hive that might be derived, in full or in part, from data about the Named Plaintiffs.

           21      Facebook explained this would not be possible because Hive stores more than 12 million database

           22      tables and is not indexed by user, so there is no way to search across all tables at once for an individual

           23      user’s ID. Ex. L at 12–15; see also Ex. E ¶ 7. Instead, each of Hive’s 12 million tables would need to

           24      be searched individually for any information relating back in any way to a Named Plaintiff, which

           25      would be nearly impossible, given both the volume of Hive data and the fact that much of the data in

           26      Hive is anonymized. See id. Facebook further explained there would be no reason to take on such an

           27      undertaking because third parties do not have access to Hive tables. See id.

           28                 B. Plaintiffs conceded that only data that was shared with third parties is relevant.
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               1   were unable to provide any clear answer. We suggest the Special Master review this transcript.

               2          To address Plaintiffs’ “disbelief . . . as to how Facebook operates,” Judge Corley determined

               3   “we just need somebody under oath saying: No, this is how it operates.” Id. at 26:7–9. Judge Corley

               4   allowed Plaintiffs to conduct a Rule 30(b)(6) deposition “to verify the representation that yes, we

               5   collect this information—inferential data, but it is not made accessible to third parties.” Id. at 35:3–5.

               6          Plaintiffs deliberately squandered that opportunity. They issued a deposition notice on 12 broad

               7   topics, many having nothing to do with the case. Ex. S. Judge Corley effectively quashed this notice,

               8   stating: “That was way beyond what I had in mind. So I don’t want to talk about your notice.” Ex. T

               9   at 17:15–16. Judge Corley again explained that the deposition was intended to allow Plaintiffs to

           10      explore whether shared data had not been produced, noting “this is pretty basic stuff.” Ex. T at 19:21–

           11      22. But Plaintiffs ignored those instructions and used the deposition to explore a host of unrelated

           12      issues, including using nearly two hours to ask questions about how Facebook places ads. See Ex. V.

           13      Plaintiffs declined to ask even basic questions to test their professed disbelief about what user-related

           14      data Facebook makes accessible to third parties. Id. Plaintiffs never even asked, “Are you aware of

           15      any types of individual user data Facebook shares that are not in the DYI data Facebook produced?”

           16                 D. Plaintiffs reverted to their initial demands for all data relating to Named Plaintiffs.

           17             After the deposition, Plaintiffs reverted to their initial demand for “all data and information

           18      relating to the Named Plaintiffs,” even if never shared. Ex. W. Facebook responded on April 1, 2021,

           19      noting this “directly contradict[ed] the representations Plaintiffs made to the Court in their prior

           20      briefing,” and confirmed it had not identified shared user data beyond what it had produced. Ex. X at

           21      2. Facebook explained again that “[t]hird parties who are able to access individualized user data access

           22      that data through APIs that pull from Facebook’s Social Graph only, and the DYI files Facebook

           23      produced reflect[] a human-readable version of the data relating to each Named Plaintiff in Facebook’s

           24      Social Graph.” Id. at 6. Plaintiffs never responded and refused to address whether they were changing

           25      their position. See Ex. Z. Instead, they filed this motion, arguing Judge Corley’s order “is not limited

           26      to ‘shared’ information.” Mot. at 2. Plaintiffs never once articulated that position over the prior year.

           27      III.   ARGUMENT

           28             The Special Master should deny Plaintiffs’ motion.
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               1               A. Facebook’s productions under Discovery Order 9 are complete.

               2           Facebook has confirmed repeatedly that its productions of potentially shared data relating to

               3   the Named Plaintiffs are complete.1 Plaintiffs identify no shared data missing from those productions.

               4   Instead, they say they are entitled to all data relating in any way to the Named Plaintiffs. But as

               5   Plaintiffs have admitted, there is no genuine dispute that this case is about shared data.

               6               1. The scope of discovery is limited to data that was shared with third parties.

               7           The complaint, Judge Chhabria’s motion-to-dismiss order, Plaintiffs’ briefing, Judge Corley’s

               8   discovery order, and the hearings before Judge Corley all make crystal clear that the only user data at

               9   issue in this privacy class action is data that was shared with or made accessible to third parties. As

           10      Judge Chhabria put it in the very first sentence of his motion-to-dismiss order: “This lawsuit, which

           11      stems from the Cambridge Analytica scandal, is about Facebook’s practice of sharing its users’

           12      personal information with third parties.” Ex. F at 1. Much to Plaintiffs’ chagrin, the case is not about

           13      “targeted advertising” or “psychographic marketing” (which Plaintiffs avoid mentioning by name but

           14      cannot resist bringing up more subtly, see Mot. at 7). While not relevant, Facebook has confirmed

           15      repeatedly that it does not share individual user data with advertisers when it places ads. See also Ex.

           16      D. Nor is this case about all of the ways in which Facebook collects, maintains, and uses data.

           17              With their feet to the fire in briefing before Judge Corley, Plaintiffs admitted this. They told

           18      Judge Corley Facebook did not need to “search millions of disaggregated data sets for any data to have

           19      ever crossed Facebook’s systems relating to a Named Plaintiff and any derivative materials drawing

           20      on that data.” Ex. O at 9 (quotation marks and emphasis omitted). Instead, they sought “only a holding

           21      that the sensitive data Facebook collected about ten Named Plaintiffs and shared with third parties is

           22      relevant.” Id. (emphasis in original). And they promised that they did “not contend that information

           23      that was not shared is relevant.” Id. (emphasis added). In reliance on those promises, Judge Corley

           24      held that discoverable user data is data that was shared with third parties, including any shared data in

           25      specific categories Plaintiffs requested. Ex. P at 2.

           26              At hearings that took place after Judge Corley issued her order, Plaintiffs again acknowledged

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                      Plaintiffs recently disclosed information identifying additional Facebook accounts for certain Named
           28
                   Plaintiffs. Facebook is collecting and will produce the information associated with these accounts.
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               1   that what they “said in [their] reply was information shared or made accessible [is relevant],” which

               2   they said meant “if it was put in a place or utilized in a way where third parties had access to it.” Ex.

               3   R at 18:15–16, 23–25. Judge Corley emphasized that the parties were both discussing information that

               4   was “shared” or “made accessible.” Id. at 19:6; see also id. at 19:3–4. One month later, Judge Corley

               5   reiterated that “[t]he question is what did they gather, and then what was shared.” Ex. T at 21:13–14.

               6              2. Plaintiffs have not identified any deficiencies in Facebook’s productions.

               7          Facebook has repeatedly confirmed that it has not identified user data that could have been

               8   shared with third parties beyond what is reflected in the Named Plaintiffs’ DYI files. Plaintiffs have

               9   done nothing to rebut that confirmation.

           10             The best way to understand the nature and extent of a user’s DYI file is to view one. Exhibit A

           11      (provided via share file) is the DYI file for Terry Fischer (a Named Plaintiff). This file contains nearly

           12      2,000 documents and more than 16,000 pages. See Ex. A. A simple review makes clear that it is not

           13      limited, as Plaintiffs say, to information users themselves post on Facebook. For example, Plaintiffs

           14      say DYI files exclude “information collected and inferred by Facebook about users,” Mot. at 2, but Ms.

           15      Fischer’s DYI file contains a 22-page list of approximately 560 interests Facebook has inferred for her.

           16      See Ex. A at FB-CA-MDL-00405315–5336. These include general interests like American culture,

           17      books, comics, faith, and journalism; more specific interests like diabetes mellitus awareness, the

           18      Kitsap Sun, PragerU, and the Non-GMO Project; and many others. See id. Plaintiffs also say DYI

           19      files exclude “information collected from off-platform activity,” Mot. at 2, but Ms. Fischer’s file

           20      includes over 370 pages of off-platform activity, see Ex. A at FB-CA-MDL-00405489–5860, plus a

           21      13-page list of the names of businesses she visited off Facebook, see id. at FB-CA-MDL-00405476–

           22      5488. For instance, Ms. Fischer’s file shows that, among hundreds of other activities, she made a

           23      purchase from JCPenney on October 16, 2019, see id. at FB-CA-MDL-00405558; interacted with

           24      winred.com on 30 occasions between August and October 2019, see id. at FB-CA-MDL-00405513–

           25      5514; visited diynetwork.com on 36 occasions between October 2019 and January 2020, see id. at FB-

           26      CA-MDL-00405641–5643; and accessed a Bible app (YouVersion Bible App + Audio, Daily Verse,

           27      Ad Free) almost every day between July 26, 2019 and January 21, 2020, see id. at FB-CA-MDL-

           28      00405758–5772. The information contained in a user’s DYI file is the most complete set of data
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               1   Facebook maintains about any user and the best representation of the data about a user in the Social

               2   Graph, from which the APIs that share data pull. See Ex. C; Ex. E.

               3           In arguing that Facebook’s voluminous productions may be incomplete, Plaintiffs pretend not

               4   to understand how Facebook shared user-related data with third parties. They insinuate that user data

               5   is shared in various complex ways that Plaintiffs and the Special Master may not comprehend. See

               6   Mot. at 6–7. And, three-and-a-half years after filing a lawsuit alleging that Facebook wrongfully shared

               7   their data, Plaintiffs wax philosophical over “what sharing information means.” Id. at 11.

               8           Those arguments are decoys. Plaintiffs know—as their prior briefing and discovery requests

               9   indicate—that the data sharing at issue in this case takes place through APIs. Plaintiffs’ interrogatories

           10      ask Facebook to identify specific categories of APIs it uses to share data, Ex. K; in response Facebook

           11      has disclosed expansive lists of APIs and the data they pull spanning more than 300 pages, Ex. U.

           12      Plaintiffs have also subpoenaed numerous third parties asking them to disclose the APIs through which

           13      they accessed user data. E.g., Ex. H at 8 (“identify each of Facebook’s application programming

           14      interfaces (‘APIs’) [it] used to access or obtain” user data).2 And in the same sur-reply in which they

           15      conceded the only user data relevant to this case is shared data, Plaintiffs also conceded:

           16                                                                           Ex. O at 9. Plaintiffs’ sudden attempt

           17      to throw up smoke about “what sharing information means” is as disingenuous as it is unsupported.

           18                  B. Plaintiffs’ distrust does not entitle them to “discovery on discovery.”

           19              Unable to identify any categories of shared data that are not reflected in the Named Plaintiffs’

           20      DYI files, Plaintiffs return to their usual refrain that they do not believe Facebook’s representations

           21      and need more discovery to test them. Plaintiffs have already squandered an opportunity Judge Corley

           22      gave them to do so, and the Special Master should reject this recycled argument.

           23              Plaintiffs are not entitled to check Facebook’s homework. “A plaintiff's mere suspicion that

           24      2
                      See 3/3/20 Subpoena to Brayola Fitting Technologies; 3/3/20 Subpoena to Bumble Trading, Inc.; 3/3/20
           25      Subpoena to Coffee Meets Bagel, Inc.; 3/3/20 Subpoena to DNP Imagingcomm America Corporation; 3/3/20
                   Subpoena to Flo Health, Inc.; 3/3/20 Subpoena to Netflix, Inc.; 3/3/20 Subpoena to On the Rebound, Inc.; 3/3/20
           26      Subpoena to Spotify USA, Inc.; 3/3/20 Subpoena to Tinder, Inc.; 3/3/20 Subpoena to United Parcel Service,
                   Inc.; 3/3/20 Subpoena to Walgreens Company; 3/3/20 Subpoena to Warner Brothers Entertainment, Inc.; 3/3/20
           27      Subpoena to Yahoo!, Inc.; 3/3/20 Subpoena to Zoosk, Inc.; 5/21/20 Subpoena to Six4Three LLC; 7/16/20
                   Subpoena to 3DNA Corp. (DBA NationBuilder); 7/16/20 Subpoena to CubeYou, Inc.; 7/16/20 Subpoena to
           28      FullContact, Inc.; 8/7/20 Subpoena to DigitalStakeout, Inc.; 8/7/20 Subpoena to X1 Discovery, Inc. Facebook
                   can provide these subpoenas upon request if the Special Master would like them.
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               1   additional documents must exist is an insufficient basis to grant a motion to compel.” Bresk v.

               2   Unimerica Ins. Co., 2017 WL 10439831, at *5 (C.D. Cal. Nov. 16, 2017). For this reason, “‘discovery

               3   on discovery’ is disfavored and, to be both relevant and proportional to the needs of the case, a party

               4   seeking it must show a specific deficiency in the other party’s production.” Uschold v. Carriage Servs.,

               5   Inc., 2019 WL 8298261, at *4 (N.D. Cal. Jan. 22, 2019) (quotation marks and citation omitted); see

               6   also, Brewer v. BNSF Railway, 2018 WL 1756432, at *4 (D. Mont. Jan. 11, 2018) (“a court must guard

               7   against excessive probing into a party’s meta-discovery in order to prevent belabored discovery.”).

               8           Plaintiffs have not identified anything beyond their own speculation to show a deficiency in

               9   Facebook’s productions of potentially shared information, much less a “specific deficiency.”

           10      Plaintiffs’ cursory attempt to do so adopts their usual strategy of plucking isolated lines out of context.

           11      They rely on a document that Facebook has repeatedly told them outlines hypothetical capabilities—

           12      not actual practices—and this is clear on the face of the document. Mot. at 9. Plaintiffs similarly cite

           13      a document entitled “Ads and Measurement” and deliberately conflate data the document indicates was

           14      available to place ads with data Facebook shared with app developers. Id. at 7; Ex. D ¶ 3. Plaintiffs

           15      also bizarrely cite a question Facebook asked app developers that has nothing to do with data sharing,

           16      Mot. at 10; misconstrue a document where employees discuss how to classify data as UII to be

           17      something sinister, id.; and cite various documents discussing data Facebook maintains without making

           18      any effort to show that data is shared, id. at 7. Finally, Plaintiffs claim shared information has not been

           19      produced because the DYI file does not include “location-related metadata.” Mot. at 10. But the DYI

           20      file includes location information, e.g., Ex. A at FB-CA-MDL-00417382, and—where a user allowed

           21      it—extensive lists of the user’s GPS coordinates.3              None of Plaintiffs’ cherry-picked quotes

           22      demonstrates a “specific deficiency” in Facebook’s productions.

           23              Facebook has disclosed the types of data it shares. See, e.g., Ex. U. Plaintiffs suggest the

           24      typical rules of discovery do not apply here because “the question of what information Facebook shared

           25      is the central issue in this case.” Mot. at 11. That is nonsense. Facebook has already disclosed the

           26      relevant APIs at issue in response to Plaintiffs’ requests. Ex. U. What Plaintiffs apparently mean is

           27      3
                     Ms. Fischer’s DYI file does not include this data, likely because her settings did not allow it to be collected.
                   Ex. AB includes 27 pages from separate DYI file Facebook produced for Plaintiff Jason Ariciu, listing hundreds
           28
                   of latitudes and longitudes where Facebook estimates he logged into Facebook over a 6-month period.
                                                                          10
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               1   that they now want to audit all of Facebook’s information so that they can decide what was shared (and

               2   thus relevant). That is a nonstarter: a “requesting party . . . must rely on the representations of the

               3   producing party or its representative that it is producing all responsive, relevant, and non-privileged

               4   discovery.” Han v. Futurewei Techs., Inc., 2011 WL 4344301, at *5 (S.D. Cal. Sept. 15, 2011). And

               5   even if Facebook did produce all of the information relating to the Named Plaintiffs, Plaintiffs would

               6   still have to rely on Facebook to determine which categories of information could have been shared.

               7           Plaintiffs already had an opportunity to probe Facebook’s representations, and they

               8   squandered it. Judge Corley previously allowed Plaintiffs to conduct a Rule 30(b)(6) deposition to

               9   address their “disbelief . . . as to how Facebook operates.” Ex. R at 26:7–8. Facebook made its then-

           10      VP of Platform Partnerships, Konstantinos Papamiltiadis, available. Mr. Papamiltiadis had more than

           11      eight years of experience at Facebook and more than 120 reports, and he spent almost 20 hours

           12      preparing. Plaintiffs deliberately wasted that opportunity and tactically avoided asking any questions

           13      to confirm whether Mr. Papamiltiadis was aware of types of shared data that Facebook had not already

           14      produced. See supra at 6. Facebook urges the Special Master to review the deposition transcript.

           15              Plaintiffs’ failure to use the Rule 30(b)(6) deposition for its intended purpose does not entitle

           16      them to admittedly irrelevant information. The biggest tell in Plaintiffs’ motion is that it never—not

           17      once—cites to Mr. Papamiltiadis’s deposition. In a motion to compel documents that are ostensibly

           18      for Plaintiffs to verify Facebook’s representations that its productions are complete, one would expect

           19      the centerpiece to be the deposition Judge Corley authorized for that very purpose. Its absence is

           20      nothing short of extraordinary, and it would be astonishing if the true explanation were not so obvious:

           21      Plaintiffs do not want verification that they have all categories of potentially shared user data. Instead,

           22      as discovery nears its end,4 Plaintiffs are desperate for anything that will breathe new life into their

           23      dying case. That is why they spent their Rule 30(b)(6) deposition exploring new potential avenues of

           24      litigation instead of verifying that the productions relating to this case were complete. That is why,

           25      years into a case about data sharing, they raise questions about “what sharing information means”

           26
                   4
           27         Even now, Plaintiffs do not demand all of the information they will eventually seek; they demand a list of
                   information that they intend to later “use . . . to develop an efficient discovery plan.” Mot. at 14. Plaintiffs’
           28      endless discovery campaign, if successful, guarantees that discovery will blow far beyond the substantial
                   completion deadline.
                                                                          11
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               1   without even attempting to supply an answer. Mot. at 11. And that is why they claim (baselessly) that

               2   “Facebook itself does not know what information may have been shared with third parties,” id. at 10—

               3   conflating questions about what particular data may have been shared about a specific user (which

               4   Facebook cannot identify) with what categories of data could be shared (which Facebook has identified

               5   and produced). See id. at 10–11. Years into this case, as the discovery deadline approaches and after

               6   throwing away their opportunity to test Facebook’s production, Plaintiffs are entitled to nothing more.

               7          Plaintiffs conflate the scope of the deposition Judge Corley allowed with the scope of data

               8   she found discoverable. In authorizing a Rule 30(b)(6) deposition, Judge Corley allowed Plaintiffs to

               9   ask questions about information Facebook maintains that may not have been shared—with the goal of

           10      identifying which types of information were shared. See Ex. T at 21:13–14 (“The question is what did

           11      they gather, and then what was shared.”). Judge Corley did not order Facebook to produce data that

           12      was never shared—if she had, there would have been no need for the deposition. Plaintiffs pluck

           13      isolated statements from the hearings to tell a different story, but the transcripts—just like the parties’

           14      underlying briefing on this issue—speak for themselves. Facebook encourages the Special Master to

           15      read these materials in full. See Exs. R, T (transcripts); see also Exs. L, M, N, O (underlying briefs).

           16                 C. Plaintiffs are judicially estopped from seeking information that was not shared.

           17             Even if Plaintiffs could otherwise seek “all” information related to the Named Plaintiffs, they

           18      are judicially estopped from doing so here based on their unequivocal representations to Judge Corley.

           19             “The doctrine of judicial estoppel is an equitable doctrine a court may invoke to protect the

           20      integrity of the judicial process,” and it was “developed to prevent litigants from ‘playing fast and

           21      loose’ with the courts by taking one position, gaining advantage from that position, then seeking a

           22      second advantage by later taking an incompatible position.” United Nat’l Ins. Co. v. Spectrum

           23      Worldwide, Inc., 555 F.3d 772, 778 (9th Cir. 2009). “In determining whether to apply the doctrine,” a

           24      court will “typically consider (1) whether a party’s later position is ‘clearly inconsistent’ with its

           25      original position; (2) whether the party has successfully persuaded the court of the earlier position, and

           26      (3) whether allowing the inconsistent position would allow the party to ‘derive an unfair advantage or

           27      impose an unfair detriment on the opposing party.’” United States v. Ibrahim, 522 F.3d 1003, 1009

           28      (9th Cir. 2008) (quoting New Hampshire v. Maine, 532 U.S. 742, 750–51 (2001)).
                                                                       12
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               1           There could not be a more apt description of Plaintiffs’ conduct. Their present position is flatly

               2   contrary to their position before Judge Corley. Compare Ex. O at 9 (“Plaintiffs do not contend that

               3   information that was not shared is relevant”), with Plaintiffs’ Mot. at 2 (“Discovery Order No. 9 is not

               4   limited to ‘shared’ information.”). Plaintiffs persuaded Judge Corley of their earlier position—that

               5   relevant information is limited to data Facebook shares—and obtained a favorable discovery order as

               6   a result. Plaintiffs cannot now take back their concessions and demand new discovery on the eve of

               7   substantial completion, when they already conceded it is not relevant, the Court issued a ruling based

               8   on that representation, and the parties agreed to a substantial completion deadline based, in part, on

               9   Facebook’s understanding that this issue had been put to bed.

           10                  D. The information Plaintiffs now seek is nonresponsive and otherwise unavailable.

           11              Following a familiar pattern, after asserting Facebook’s productions are incomplete, Plaintiffs

           12      shift gears. Rather than demand user data they believe was not produced, they abruptly demand

           13      extensive discovery about Facebook’s sources of electronically stored information (“ESI”).5

           14              Plaintiffs’ list of demands is not the issue at impasse. The Special Master declared impasse

           15      regarding Facebook’s “[p]roduction of Named Plaintiffs’ data in compliance with [Judge Corley’s

           16      Order],” 2021.10.06 Email from D. Garrie, after Plaintiffs complained Facebook had not made “a

           17      complete production of all data it has collected about [the Named Plaintiffs],” Ex. Y at 4. When forced

           18      to put pen to paper, Plaintiffs find no support for that request, so they pull out a familiar trick: They

           19      raise a different issue that itself has a complicated history. Making matters worse, none of the discovery

           20      requests Plaintiffs move on seek the materials they now demand. The Special Master instructed the

           21      parties they may brief only the impasse topic, and should deny Plaintiffs’ request for this reason.6

           22              Judge Corley has also repeatedly rejected Plaintiffs’ demands for discovery about Facebook’s

           23      5
                      Plaintiffs seek to “compel Facebook to identify all data sources that may contain information relating to the
           24      Named Plaintiffs,” which they define in the final paragraph of their motion to mean “(1) the name of the database
                   or data log; (2) a description of the data source’s purpose and function; (3) information about the default retention
           25      status of the data source (at a minimum, whether it is retained and for how long); (4) information about the
                   current retention status of the data source (at a minimum, whether it is retained and for how long); and (5) where
           26      current retention status differs from default retention status, the date the change was implemented.” Mot. at 13–
                   14. They further demand, “at a minimum,” “(1) the data schema; (2) definitions and descriptions of each field;
           27      (3) tool(s) which Facebook use to search each data source; and (4) instruction sets and manuals for all tools
                   identified as being used by Facebook to search any data source identified in this step.” Id. at 14.
                   6
           28        See Protocol for Resolving Discovery Disputes ¶ 2. The Special Master separately advised the parties that he
                   intends to “redline” any portions of the parties’ briefing that strays beyond the impasse topic.
                                                                            13
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               1   sources of ESI. The parties invested nearly six months negotiating an ESI protocol that Judge Corley

               2   entered. Notably, that protocol does not require written ESI disclosures. Ex. I. After agreeing to this

               3   protocol, Plaintiffs sought to side-step the parties’ agreement and asked Judge Corley to order “written

               4   ESI disclosures” or a 30(b)(6) ESI deposition. Dkt. 428 at 5. Judge Corley rejected this request: “On

               5   the ESI discussions, I’m not going to require any more—I’m not going to do what the plaintiffs

               6   proposed. . . . I’m not satisfied there’s anything more in particular that you need.” Ex. J at 6:16–21.

               7          One year later, Plaintiffs tried again. When Judge Corley authorized a deposition for Plaintiffs

               8   to explore whether any shared data about the Named Plaintiffs had not been produced, Plaintiffs issued

               9   a 30(b)(6) notice that again sought detailed testimony about Facebook’s data sources. The first three

           10      topics in Plaintiffs’ notice ask for the same information Plaintiffs sought previously and now seek here:

           11         1. The format, nature, and location of User Data as set forth in Discovery Order No. 9, including
                         how and why such Data is collected, obtained, or inferred, and how it is maintained.
           12
                      2. The name, location, and function of all of Facebook’s electronic or database systems that
           13            contain User Data, including but not limited to Hive and Data Warehouse, whether stored on
                         an individual user level or in another form.
           14
                      3. The identity, nature and location at Facebook of all the metadata associated with User Data . . .
           15
                   Ex. S at 6. Judge Corley quashed that deposition notice. See supra at 6. Plaintiffs’ requests for
           16
                   document discovery on the same topics should meet the same fate.
           17
                          Even though Judge Corley rejected Plaintiffs’ requests for ESI discovery, in mediation
           18
                   Facebook voluntarily produced much of the information Plaintiffs demand, see Ex. AA (share file),
           19
                   because Plaintiffs assured the mediators this information would advance the parties’ discussion about
           20
                   user data. Plaintiffs do not even acknowledge that production; they simply ask for more.
           21
                          Had Plaintiffs reviewed the materials Facebook provided, they would have learned a
           22
                   tremendous amount about how Facebook stores data. The documents include two training videos
           23
                   intended to educate viewers as to how Facebook stores and queries data in the Social Graph. E.g., id.
           24
                   at FB-CA-MDL-01959889, FB-CA-MDL-01960073. Facebook also produced detailed technical
           25
                   publications regarding its data infrastructure, e.g., id. at FB-CA-MDL-01959810, FB-CA-MDL-
           26
                   01959826 (academic articles regarding the consistency and functioning of Facebook’s TAO system
           27
                   and describing Facebook’s horizontally shared, geo-replicated relational database management
           28
                                                                      14
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               1   system), as well as internal instructional guides discussing Facebook’s data storage systems (including

               2   descriptions of individual databases, their functions, data schema employed, and tools used to query

               3   databases), e.g., id. at FB-CA-MDL-01960039 (instructional overview of the Graph API), FB-CA-

               4   MDL-01960137 (instructional wiki entry providing descriptions of data tools), FB-CA-MDL-

               5   01960080 (instructional guide on storage options in the Social Graph), FB-CA-MDL-01960128

               6   (instructional guide on data tools), FB-CA-MDL-01960067 (instructional guide on searching with

               7   GraphQL).      Facebook also produced dozens of articles and blog posts discussing its data

               8   infrastructure, e.g., id. at FB-CA-MDL-01959804 (blog post describing Facebook’s top open data

               9   problems, including a description of its data stores and the tools used to query them), FB-CA-MDL-

           10      01959641 (article discussing the role of the MySQL database in supporting the social graph).

           11             Given Facebook’s extensive voluntary production of materials Judge Corley held Plaintiffs

           12      were not entitled to, Plaintiffs’ claim that they are left in the dark falls flat. And Facebook has already

           13      told Plaintiffs that most of the additional materials they seek do not exist or do not exist in the form

           14      Plaintiffs have requested—such as a data map, a list of sources containing data about specific individual

           15      users, or an instruction manual explaining the workings of Facebook’s engineering infrastructure to

           16      laypersons. And Facebook has answered interrogatories asking it to identify databases that house user

           17      data. Ex. U. It is not clear what other information Plaintiffs’ vague and broad list is even asking for.

           18             These are issues that can and should be resolved informally through discussion during the RFP

           19      meet-and-confer process, during which the parties can refine their requests, address any

           20      misunderstandings, and raise objections if needed. None of that happened here, likely for an obvious

           21      tactical reason: Plaintiffs know that if their current demands were properly teed up, negotiated, and

           22      mediated, they would be dead on arrival. The multiple problems with Plaintiffs’ list of demands simply

           23      highlight the soundness of the rule that a “motion to compel may not be used to enforce an ‘informal’

           24      request for documents or information.” MAO-MSO Recovery, LLC v. Mercury Gen., 2019 WL

           25      1423772, at *3 (C.D. Cal. Feb. 19, 2019). As a result, even aside from all of the other problems with

           26      Plaintiffs’ motion to compel, it is unripe.

           27      IV.    CONCLUSION

           28             Plaintiffs’ motion should be denied.
                                                                       15
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